                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


KEVIN WUTHERICH,                            )
                                            )
                      Plaintiff,            )       Civil Action No. 18-200
                                            )
               v.                           )       Judge Cathy Bissoon
                                            )       Magistrate Judge Maureen P. Kelly
RICE ENERGY INC,                            )
                                            )
                      Defendant.            )


                                   MEMORANDUM ORDER

       This case has been referred to United States Magistrate Judge Maureen P. Kelly for

pretrial proceedings in accordance with the Magistrates Act, 28 U.S.C. §§ 636(b)(l)(A) and (B),

and Local Rule of Civil Procedure 72.

       On May 5, 2020, the Magistrate Judge issued a Report (Doc. 86) recommending that

Plaintiff's Motion (Doc. 73) for partial summary judgment be denied; and that Defendant's

Motion (Doc. 75) for summary judgment be granted. Service of the Report and

Recommendation (“R&R”) was made on the parties, and Plaintiff has filed Objections.

See Doc. 87.

       After a de novo review of the pleadings and documents in the case, together with the

Report and Recommendation and the Objections thereto, the following Order is entered:

Plaintiff's Motion (Doc. 73) for partial summary judgment is DENIED; Defendant's Motion

(Doc. 75) for summary judgment is GRANTED; and the R&R (Doc. 86) is adopted as the

Opinion of the District Court.
       IT IS SO ORDERED.



June 8, 2020                           s\Cathy Bissoon
                                       Cathy Bissoon
                                       United States District Judge
cc (via ECF email notification):

All Counsel of Record




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